Case 1:16-cv-20764-UU Document 30 Entered on FLSD Docket 02/18/2016 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 LOGOPAINT A/S,

                          Plaintiff,

        v.                                                        CIVIL ACTION
                                                                  NO. 15-04865

 3D SPORT SIGNS SI, CARSTEN JENSEN
 CHARMIG, XAVIER PALMEROLA
 FERNANDEZ, JOSE ISABAL ROCA and
 TRAFFIC SPORTS USA, INC.,

                          Defendant.


                                              ORDER

        AND NOW, this 18th day of February, 2016, upon consideration of Defendants’ Motion

 to Transfer Venue (ECF No. 13), LogoPaint’s Response (ECF No. 23) and Defendants’ Reply

 (ECF No. 26), it is hereby ORDERED that the motion is GRANTED.

        The Clerk of Court shall TRANSFER the above-captioned case to the Clerk of Court for

 the United States District Court for the Southern District of Florida.



                                                               BY THE COURT

                                                               /s/ Gerald J. Pappert
                                                               GERALD J. PAPPERT, J




                                                  1
